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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS



TRAVIS IRISH,

                    Plaintiff,

v.                                                 CIVIL ACTION NO. 4:14-CV-40028-TSH

ACTION COLLECTION AGENCIES, INC.,

                    Defendant.



                    STIPULATION OF DISMISSAL WITH PREJUDICE

       The parties hereby stipulate to the dismissal of all claims with prejudice, without costs,
and with all rights of appeal waived.


TRAVIS IRISH                                         ACTION COLLECTION AGENCIES, INC.

By his attorneys,                                    By its attorneys,
/s/ Sergei Lemberg                                   /s/ John J. O’Connor
Sergei Lemberg                                       John J. O’Connor
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Dated: January 7, 2016
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                                 CERTIFICATE OF SERVICE

        I, John J. O’Connor, do hereby certify that I have, this 7th day of January, 2016, served
the foregoing document on all counsel of record, by causing a copy thereof, to be sent
electronically to the registered participants in this case as identified on the Notice of Electronic
Filing (NEF).

                                                       /s/John J. O’Connor
                                                       John J. O’Connor
